Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MONTANA, BUTTE DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                         § Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                LD CONSTRUCTION, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  236 Mount Pleasant                                             PO Box 859
                                  Lewistown, MT 59457-8020                                       Lewistown, MT 59457-0859
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fergus                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 183 Mile Dr # Driver Lewistown, MT 59457-8301
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor               ¥ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  § Partnership (excluding LLP)
                                  § Other. Specify:




                                    4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 1 of 7
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    LD CONSTRUCTION, INC.                                                                        Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                       § Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       § Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       § Railroad (as defined in 11 U.S.C. § 101(44))
                                       § Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       § Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       § Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ¥ None of the above
                                       B. Check all that apply
                                       § Tax-exempt entity (as described in 26 U.S.C. §501)
                                       § Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       § Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       § Chapter 7
     A debtor who is a “small          § Chapter 9
     business debtor” must check       ¥ Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                               §    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor”) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            !    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            §    A plan is being filed with this petition.
                                                            §    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            §    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                            §    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       § Chapter 12
9.   Were prior bankruptcy             ¥ No.
     cases filed by or against the
     debtor within the last 8          § Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




                                       4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 2 of 7
Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 2
Debtor    LD CONSTRUCTION, INC.                                                                             Case number ( if known )
          Name

10. Are any bankruptcy cases               ¥ No
    pending or being filed by a
    business partner or an                 § Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                        Relationship
                                                     District                                  When                                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       ¥      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       §      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             ¥ No
    have possession of any
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          § Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                    § It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                    § It needs to be physically secured or protected from the weather.
                                                    § It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    § Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    § No
                                                    § Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                § Funds will be available for distribution to unsecured creditors.
                                                ¥ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                ¥ 1-49                                             § 1,000-5,000                                 § 25,001-50,000
    creditors                                                                             § 5001-10,000                                 § 50,001-100,000
                                       § 50-99
                                       § 100-199                                          § 10,001-25,000                               § More than100,000
                                       § 200-999

15. Estimated Assets                   § $0 - $50,000                                     ¥ $1,000,001 - $10 million                    § $500,000,001 - $1 billion
                                       § $50,001 - $100,000                               § $10,000,001 - $50 million                   § $1,000,000,001 - $10 billion
                                       § $100,001 - $500,000                              § $50,000,001 - $100 million                  § $10,000,000,001 - $50 billion
                                       § $500,001 - $1 million                            § $100,000,001 - $500 million                 § More than $50 billion

16. Estimated liabilities              § $0 - $50,000               ¥ $1,000,001 - $10 million § $500,000,001 - $1 billion
                                           4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 3 of 7
Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
Debtor   LD CONSTRUCTION, INC.                                                      Case number ( if known )
         Name

                         § $50,001 - $100,000                       § $10,000,001 - $50 million                § $1,000,000,001 - $10 billion
                         § $100,001 - $500,000                      § $50,000,001 - $100 million               § $10,000,000,001 - $50 billion
                         § $500,001 - $1 million                    § $100,000,001 - $500 million              § More than $50 billion




                          4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 4 of 7
Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
Debtor    LD CONSTRUCTION, INC.                                                                           Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       09/15/2023
                                                    MM / DD / YYYY


                              X /s/ Brian D. Larson                                                              BRIAN D. LARSON
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   PRESIDENT




18. Signature of attorney     X     /s/ Gary S. Deschenes                                                          Date    09/15/2023
                                  Signature of attorney for debtor                                                         MM / DD / YYYY

                                  Gary S. Deschenes
                                  Printed name

                                  Deschenes & Associates Law Offices
                                  Firm name


                                  309 1st Ave N
                                  Great Falls, MT 59401-2505
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      406-761-6112                    Email address         gsd@dalawmt.com

                                  2293
                                  Bar number and State




                                   4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 5 of 7
Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
                     RESOLUTION OF LD CONSTRUCTION, INC.

      The undersigned, being directors, officers, and shareholders of LD Construction, Inc., a
Montana corporation, do hereby file and adopt the following resolution:

       RESOLVED, THAT THE PRESIDENT OF THE CORPORATION BE, AND IS HEREBY
       AUTHORIZED, TO PERFORM WHATEVER ACT IS NECESSARY TO RESOLVE THE
       FINANCIAL SITUATION OF THE CORPORATION, INCLUDING BUT NOT LIMITED
       TO, FILING A PETITION AND OTHER PAPERS IN BANKRUPTCY FOR
       PROTECTION UNDER THE BANKRUPTCY ACT.

       DATED this 15th day of ___________,
                              September    2023.


                                           __________________________________
                                           Brian D. Larson




               4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 6 of 7
LD CONSTRUCTION, INC.                JOHN DEERE FINANCIAL            RINDAL OIL
PO BOX 859                           PO BOX 6600                     PO BOX 504
LEWISTOWN, MT 59457-0859             JOHNSTON, IA 50131-6600         LEWISTOWN, MT 59457-0504




DESCHENES & ASSOCIATES LAW OFFICES KOMATSU FINANCIAL                 RUSSEL J. SPIKA, CPA
309 1ST AVE N                      PO BOX 99303                      505 W MAIN ST
GREAT FALLS, MT 59401-2505         CHICAGO, IL 60693-9303            LEWISTOWN, MT 59457-5703




BANK OF THE WEST                     LEWISTOWN RENTAL                STOCKMAN BANK
PO BOX 7167                          2566 TRUCK BYP # BYP            PO BOX 958
PASADENA, CA 91109-7167              LEWISTOWN, MT 59457-3964        LEWISTOWN, MT 59457-0958




BRIAN DAVID LARSON                   MODERN MACHINERY                TIRE-RAMA
236 MOUNT PLEASANT                   UNIT 35                         80397 US HIGHWAY 87
LEWISTOWN, MT 59457-8020             PO BOX 4800                     LEWISTOWN, MT 59457-8340
                                     PORTLAND, OR 97208-4800



CARQUEST AUTO PARTS STORES           MONTANA DEPARTMENT OF REVENUE
PO BOX 404875                        ATTN: BANKRUPTCY DEPARTMENT
ATLANTA, GA 30384-4875               PO BOX 7701
                                     HELENA, MT 59604-7701



CATERPILLAR FINANCE                  MONTANA STATE FUND
PO BOX 100647                        PO BOX 4759
PASADENA, CA 91189-0003              HELENA, MT 59604-4759




FABIAN'S MACHINE & WELDING           MOTOR POWER
307 1ST AVE N                        4941 MIDLAND RD
LEWISTOWN, MT 59457-1727             BILLINGS, MT 59101-6311




FERGUS AUTO PARTS                    NAPA AUTO PARTS
403 1ST AVE S                        403 1ST AVE S
LEWISTOWN, MT 59457-3019             LEWISTOWN, MT 59457-3019




FINANCIAL PACIFIC LEASING            NATIONAL LAUNDRY
PO BOX 749642                        115 1ST AVE N
LOS ANGELES, CA 90074-9642           LEWISTOWN, MT 59457-1758




INTERNAL REVENUE SERVICE             R&R DIESEL REPAIR, INC.
PO BOX 7346                          PO BOX 5778
PHILADELPHIA, PA 19101-7346          HELENA, MT 59604-5778




                           4:23-bk-40063-BPH Doc#: 1 Filed: 09/15/23 Page 7 of 7
